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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
                                              Case No. 2:22-cv-00809-MCS-MAR
11    In re PANDORA MEDIA, LLC
      COPYRIGHT LITIGATION                    ORDER RE: JURY/COURT TRIAL
12
                                                I.     SCHEDULE
13
                                                II.    TRIAL PREPARATION
14
                                                III.   CONDUCT OF
15                                                     ATTORNEYS AND
                                                       PARTIES
16
17    This Document Relates To:
18    ALL ACTIONS
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 1   I.    SCHEDULE
 2         The Scheduling Order governing this case is set forth in the Schedule of Pretrial
 3   and Trial Dates chart below. Whether this is a jury trial or court trial is indicated in the
 4   upper right hand box. If the parties wish to set additional dates, they may file a separate
 5   Stipulation and Proposed Order. This may be especially appropriate in class actions,
 6   patent cases, or cases for benefits under the Employee Retirement Income Security Act
 7   of 1974 (“ERISA”).
 8         Please refer to the Court’s Standing Order for requirements for specific motions,
 9   discovery, certain types of filings, courtesy copies, emailing signature items to
10   chambers, alternative dispute resolution, and other matters pertaining to all cases.
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 1         A.      Deadlines for Motions
 2         All motions must be noticed to be heard on or before their respective deadlines.
 3   All unserved parties will be dismissed at the time of the pretrial conference pursuant to
 4   Local Rule 16-8.1.
 5         B.      Discovery Cut-Off and Discovery Disputes
 6                 1.     Discovery Cut-off: The cut-off date for discovery is not the date by
 7   which discovery requests must be served; it is the date by which all discovery, including
 8   all hearings on any related motions, must be completed. Thus, written discovery must
 9   be served, and depositions must begin, sufficiently in advance of the discovery cut-off
10   date to permit the discovering party enough time to challenge via motion practice
11   responses deemed to be deficient. Given the requirements to meet and confer and to
12   give notice, in most cases a planned motion to compel must be discussed with opposing
13   counsel at least six weeks before the cut-off.
14                 2.     Expert Discovery: All expert disclosures must be made in writing.
15   The parties should begin expert discovery shortly after the initial designation of experts.
16   The final pretrial conference and trial dates will not be continued merely because expert
17   discovery is not completed. Failure to comply with these or any other orders concerning
18   expert discovery may result in the expert being excluded as a witness.
19                 3.     Discovery Disputes:    Counsel must use best efforts to resolve
20   discovery problems among themselves in a courteous, reasonable, and professional
21   manner.    Counsel must adhere to the Civility and Professionalism Guidelines at
22   http://www.cacd.uscourts.gov/attorneys/admissions/civility-and-professionalism-
23   guidelines.
24                 4.     Discovery Motions:        Discovery motions are handled by the
25   Magistrate Judge assigned to the case. Any motion challenging the adequacy of
26   discovery responses must be filed, served, and calendared sufficiently in advance of the
27   discovery cut-off date to permit the responses to be obtained before that date if the
28   motion is granted.
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 1         C.     Law and Motion and Local Rule 7-3
 2         The Court reminds the parties of their obligation under Local Rule 7-3 to meet
 3   and confer to attempt to resolve disputes before filing a motion. This Court also requires
 4   the parties to meet and confer on any other request for relief (except those identified in
 5   Local Rules 7-3 and 16-12).
 6         Please see the standing order for specific instructions regarding Motions to
 7   Dismiss, Motions to Amend, Motions for Summary Judgment, and other requests.
 8         D.     Settlement Conference/Alternative Dispute Resolution Procedures
 9         Pursuant to Local Rule 16-15, the parties in every case must participate in a
10   Settlement Conference or Alternative Dispute Resolution (“ADR”) procedure. The
11   Scheduling Order indicates the procedure the parties shall use. If the parties prefer an
12   ADR procedure other than the one ordered by the Court, they shall file a Stipulation
13   and Proposed Order. This request will not necessarily be granted.
14         Counsel shall file a Joint Report regarding the outcome of settlement discussions,
15   the likelihood of possible further discussions, and any help the Court may provide with
16   regard to settlement negotiations, by 7 days after the settlement conference. No case
17   will proceed to trial unless all parties, including the principals of all corporate parties,
18   have appeared personally at a settlement conference.
19         E.     Final Pretrial Conference/Proposed Final Pretrial Conference Order
20         The Court has set a Final Pretrial Conference (“FPTC”) pursuant to Fed. R. Civ.
21   P. 16 and Local Rule 16-8. THE COURT REQUIRES STRICT COMPLIANCE
22   WITH FED. R. CIV. P. 16 AND 26, AND LOCAL RULE 16. Each party appearing
23   in this action must be represented at the FPTC by the lead trial counsel for that party.
24   Counsel must be prepared to discuss streamlining the trial, including presentation of
25   testimony by deposition excerpts or summaries, time limits, stipulations as to
26   undisputed facts, and qualification of experts by admitted resumes.
27         The parties must file a Proposed Final Pretrial Conference Order (“Proposed
28   FPTCO”) 2 weeks (14 days) before the FPTC. The parties must adhere to this deadline
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 1   so chambers can prepare. A template for the Proposed FPTCO is available on Judge
 2   Scarsi’s webpage. The parties MUST use this template.
 3          In specifying the surviving pleadings under section 1, state which claims or
 4   counterclaims have been dismissed or abandoned, e.g., “Plaintiff’s second cause of
 5   action for breach of fiduciary duty has been dismissed.” Also, in multiple-party cases
 6   where not all claims or counterclaims will be prosecuted against all remaining parties
 7   on the opposing side, please specify to which party each claim or counterclaim is
 8   directed.
 9          The parties must attempt to agree on and set forth as many uncontested facts as
10   possible. The Court will usually read the uncontested facts to the jury at the start of
11   trial. A carefully drafted and comprehensively stated stipulation of facts will shorten
12   the trial and increase jury understanding of the case.
13          In drafting the factual issues in dispute, the parties should attempt to state issues
14   in ultimate fact form, not in the form of evidentiary fact issues. The issues of fact should
15   track the elements of a claim or defense on which the jury will be required to make
16   findings.
17          Issues of law should state legal issues on which the Court will be required to rule
18   during the trial and should not list ultimate fact issues to be submitted to the trier of fact.
19          The parties shall email the Proposed FPTCO in Microsoft Word format to
20   chambers at MCS_Chambers@cacd.uscourts.gov.
21   II.    TRIAL PREPARATION
22          THE PARTIES MUST STRICTLY COMPLY WITH LOCAL RULE 16.
23   Please review Local Rule 16-2. Pursuant to Local Rule 16-2, lead trial counsel for each
24   party are required to meet and confer in person 40 days in advance to prepare for the
25   FPTC. This Order sets forth some requirements different from or in addition to those
26   set out in Local Rule 16. The Court may take the FPTC off calendar or impose other
27   sanctions for failure to comply with these requirements.
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 1         A.     Schedule for Filing Pretrial Documents for Jury and Court Trials
 2         Copies of all pretrial documents shall be delivered to the Court “binder-ready”
 3   (three-hole punched on the left side, without blue-backs, and stapled only in the top left
 4   corner). Except for motions in limine, oppositions, the Joint Status Report Regarding
 5   Settlement, and Declarations containing direct testimony, Counsel shall email all of
 6   the below pretrial documents, including any amended documents, in Microsoft
 7   Word format to MCS_Chambers@cacd.uscourts.gov .
 8         The schedule for filing pretrial documents is as follows:
 9          At least 3 weeks (21 days) before the Final Pretrial Conference:
10                • Motions in Limine
11                • Memoranda of Contentions of Fact and Law
12                • Witness Lists
13                • Joint Exhibit List
14                • Joint Status Report Regarding Settlement
15                • Proposed Findings of Fact and Conclusions of Law (court trial only)
16                • Declarations containing Direct Testimony (court trial only)
17          At least 2 weeks (14 days) before the Final Pretrial Conference:
18                • Oppositions to Motions in Limine
19                • Joint Proposed Final Pretrial Conference Order
20                • Joint/Agreed Proposed Jury Instructions (jury trial only)
21                • Disputed Proposed Jury Instructions (jury trial only)
22                • Joint Proposed Verdict Forms (jury trial only)
23                • Joint Statement of the Case (jury trial only)
24                • Proposed Additional Voir Dire Questions, if any (jury trial only)
25                • Evidentiary Objections to Declarations of Direct Testimony (court trial
26                   only)
27   ///
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 1                 1. Motions in Limine
 2         No side may file more than 5 motions in limine without leave of court.
 3         Motions in limine will be heard and ruled on at the FPTC. The Court may rule
 4   on motions in limine orally only instead of in writing. All motions in limine must be
 5   filed at least 3 weeks (21 days) before the final pretrial conference; oppositions must be
 6   filed at least 2 weeks (14 days) before the final pretrial conference; there will be no
 7   replies. Motions in limine and oppositions must not exceed 10 pages in length.
 8         Before filing a motion in limine, counsel must meet and confer to determine
 9   whether opposing counsel intends to introduce the disputed evidence and to attempt to
10   reach an agreement that would obviate the motion. Motions in limine should address
11   specific issues (e.g., not “to exclude all hearsay”). Motions in limine should not be
12   disguised motions for summary adjudication of issues.
13                 2. Witness Lists
14         Witness Lists must be filed 3 weeks (21 days) before the FPTC. They must be
15   in the format specified in Local Rule 16-5, and must also include for each witness (i) a
16   brief description of the testimony, (ii) what makes the testimony unique, and (iii) a time
17   estimate in hours for direct and cross-examination (separately stated). Please follow
18   the template posted to Judge Scarsi’s webpage. Any Amended Witness List must be
19   filed by 12:00 p.m. (noon) the Friday before trial.
20                 3. Joint Exhibit List
21         The Joint Exhibit List must be filed 3 weeks (21 days) before the FPTC. It must
22   be in the format specified in Local Rule 16-6, and shall include an additional column
23   stating any objections to authenticity and/or admissibility, and the reasons for the
24   objections.   Please follow the template posted to Judge Scarsi’s webpage.           Any
25   Amended Joint Exhibit List must be filed by 12:00 p.m. (noon) the Friday before trial.
26                 4. Jury Instructions (jury trial only)
27         Jury instructions must be filed no later than 2 weeks (14 days) prior to the FPTC.
28   The parties shall make every attempt to agree upon jury instructions before submitting
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 1   proposals to the Court. The Court expects counsel to agree on the substantial
 2   majority of jury instructions, particularly when pattern or model instructions
 3   provide a statement of applicable law. The parties shall meet and confer on jury
 4   instructions according to the following schedule:
 5      • 4 weeks (28 days) before FPTC:             Counsel shall exchange proposed jury
 6         instructions (general and special)
 7      • 3 weeks (21 days) before FPTC: Counsel shall exchange any objections to the
 8         instructions
 9      • Until 2 weeks (14 days) before FPTC: Counsel shall meet and confer with the
10         goal of reaching an agreement on one set of Joint/Agreed Jury Instructions.
11      • 2 weeks (14 days) before FPTC: counsel shall file their (1) Joint/Agreed Proposed
12         Jury Instructions and their (2) Disputed Jury Instructions.
13         If the parties disagree on any proposed jury instructions, they shall file: (i) 1 set
14   of Joint/Agreed Proposed Jury Instructions to which all parties agree; and (ii) 1 set of
15   Disputed Jury Instructions, which shall include a “redline” of any disputed language
16   and/or the factual or legal basis for each party’s position as to each disputed instruction.
17   Where appropriate, the disputed instructions shall be organized by subject, so that
18   instructions that address the same or similar issues are presented sequentially. If there
19   are excessive or frivolous disagreements over jury instructions or the special verdict
20   form, the Court will order the parties to further meet and confer before trial and/or
21   during trial until they substantially narrow their disagreements.
22                Sources: When the Manual of Model Jury Instructions for the Ninth
23   Circuit provides an applicable jury instruction, the parties should submit the most recent
24   version, modified and supplemented to fit the circumstances of this case. Where
25   California law applies, counsel should use the current edition of the Judicial Council of
26   California Civil Jury Instructions (“CACI”). If neither applies, counsel should consult
27   the current edition of O’Malley, et al., Federal Jury Practice and Instructions. Counsel
28   may submit alternatives to these instructions only if there is a reasoned argument that
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  1   they do not properly state the law or that they are incomplete. The Court seldom if ever
  2   gives instructions derived solely from cases.
  3                 Format: Each requested instruction shall (1) cite the authority or source
  4   of the instruction, (2) be set forth in full, (3) be on a separate page, (4) be numbered, (5)
  5   cover only one subject or principle of law, and (6) not repeat principles of law contained
  6   in any other requested instruction. If a standard instruction has blanks or offers options
  7   (i.e. “he/she”), the parties must fill in the blanks or make the appropriate selections in
  8   their proposed instructions.
  9                 Index: The Proposed Instructions must have an index that includes the
10    following for each instruction, as illustrated in the example below:
11                  • the number of the instruction;
12                  • the title of the instruction;
13                  • the source of the instruction and any relevant case citations; and
14                  • the page number of the instruction.
15    Example:
16
      Instruction
17    Number           Title                          Source              Page Number
18    1                Trademark-Defined              9th Cir. 8.5.1            1
                       (15.U.S.C. § 1127)
19
            During the trial and before closing argument, the Court will meet with counsel to
20
      settle the instructions, and counsel will have an opportunity to make a further record
21
      concerning their objections.
22
                    5. Joint Verdict Forms (jury trial only)
23
            The parties shall make every attempt to agree upon a verdict form before
24
      submitting proposals to the Court. Counsel shall file a proposed verdict form(s) no later
25
      than 2 weeks (14 days) before the FPTC. If the parties are unable to agree on a verdict
26
      form, the parties shall file one document titled “Competing Verdict Forms” which shall
27
      include: (i) the parties’ respective proposed verdict form; (ii) a “redline” of any disputed
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  1   language; and (iii) the factual or legal basis for each party’s respective position if the
  2   entire form is being disputed.
  3                6. Joint Statement of the Case (jury trial only)
  4         By 2 weeks (14 days) before the FPTC, counsel must file a Joint Statement of the
  5   Case for the Court to read to the panel of prospective jurors before commencement of
  6   voir dire. This should be a brief neutral statement no more than one page long.
  7                7. Voir Dire (jury trial only)
  8         The Court will conduct the voir dire. The Court asks prospective jurors basic
  9   questions (jurors’ place of residence, employment, whether familiar with the parties or
10    counsel, etc.), and may ask additional case-specific questions. By 2 weeks (14 days)
11    before the FPTC, counsel may, but are not required to, file proposed case-specific voir
12    dire questions for the Court’s consideration.
13          Generally, a jury consists of eight jurors. In most cases, the Court seats 16
14    prospective jurors in the jury box and conducts its initial voir dire. Each side has 3
15    peremptory challenges. If 14 jurors are seated in the box and all 6 peremptory
16    challenges are exercised, the remaining 8 jurors will constitute the jury panel. If fewer
17    than 6 peremptory challenges are exercised, the 8 jurors in the lowest numbered seats
18    will be the jury. The Court will not necessarily accept a stipulation to a challenge for
19    cause. If one or more challenges for cause are accepted, and all 6 peremptory challenges
20    are exercised, the Court may decide to proceed with 6 or 7 jurors.
21                 8. Proposed Findings of Fact and Conclusions of Law (court trial only)
22          For any trial requiring findings of fact and conclusions of law, counsel for each
23    party shall, no later than 3 weeks (21 days) before the FPTC, file and serve on opposing
24    counsel its Proposed Findings of Fact and Conclusions of Law in the format specified
25    in Local Rule 52-3.
26          The parties may submit Supplemental Proposed Findings of Fact and
27    Conclusions of Law during the trial. Once trial concludes, the Court may order the
28    parties to file Revised Proposed Findings of Fact and Conclusions of Law.
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  1                 9. Declarations for Direct Testimony (court trial only)
  2         Unless relieved from this requirement upon a party’s motion, each party shall, at
  3   least 3 weeks (21 days) before the FPTC, file declarations containing the direct
  4   testimony of each witness whom that party intends to call at trial. Each party shall file
  5   any evidentiary objections to the declaration(s) submitted by any other party by 2 weeks
  6   (14 days) before the FPTC. Such objections shall be submitted in the following three-
  7   column format: (i) the left column should contain a verbatim quote of each statement
  8   objected to (including page and line number); (ii) the middle column should set forth a
  9   concise objection (e.g., hearsay, lacks foundation, etc.) with a citation to the Fed. R.
10    Evid. or, where applicable, a case citation; and (iii) the right column should provide
11    space for the court’s ruling on the objection. The Court anticipates issuing its ruling on
12    the objections the same date as the FPTC.
13          B.      Trial Exhibits
14          Trial exhibits that consist of documents must be submitted to the Court in three-
15    ring binders. Counsel shall submit to the Court one original set of exhibit binders,
16    and one copy: the original set shall be for the witnesses, and the copy set is for the
17    Court. All exhibits must be placed in three-ring binders indexed by exhibit number with
18    tabs or dividers on the right side. Exhibits shall be numbered 1, 2, 3, etc., not 1.1, 1.2,
19    etc. The defendant’s exhibit numbers shall not duplicate plaintiff’s numbers. For all 3
20    sets of binders, the spine of each binder shall indicate the volume number and the range
21    of exhibit numbers included in the volume.
22          • The original set of exhibits shall have official exhibit tags (yellow tags for
23               plaintiff’s exhibits, and blue tags for defendant’s exhibits) affixed to the front
24               upper right-hand corner of the exhibit, with the case number, case name, and
25               exhibit number stated on each tag. Tags may be obtained from the Clerk’s
26               Office, or counsel may print their own exhibit tags using Forms G-14A and
27               G-14B on the “Court Forms” section of the Court’s website.
28          • The copy set of the exhibits shall not have official exhibit tags but must be
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  1              indexed with tabs or dividers on the right side.
  2         Counsel will review the exhibit list and the exhibit binders with the Courtroom
  3   Deputy Clerk (“CRD”) before the admitted exhibits are given to the jury.
  4         The Court provides audio/visual equipment for use during trial.                 More
  5   information is available at http://www.cacd.uscourts.gov/clerk-services/courtroom-
  6   technology . The Court does not permit exhibits to be “published” by passing them up
  7   and down the jury box. Exhibits may be displayed briefly using the screens in the
  8   courtroom, unless the process becomes too time-consuming.
  9         Counsel must meet and confer not later than 10 days before trial to stipulate as
10    far as possible to foundation, to waiver of the best evidence rule, and to exhibits that
11    may be received into evidence at the start of the trial. The exhibits to be so received will
12    be noted on the Court’s copy of the exhibit list.
13          C.      Materials to Present on First Day of Trial
14          Counsel must present these materials to the CRD on the first day of trial:
15                  1. The 3 sets of exhibit binders (1 original, 2 copies) described above.
16                  2. Any deposition transcripts to be used at trial, either as evidence or for
17                     impeachment.     These lodged depositions are for the Court’s use;
18                     counsel must use their own copies during trial.
19          D.      Court Reporter
20          Any party requesting special court reporter services for any hearing (i.e., real time
21    transmission, daily transcripts) shall notify the court reporter at least 2 weeks before the
22    hearing date.
23          E.      Jury Trial
24          On the first day of trial, court will commence at 8:30 a.m. and conclude at
25    approximately 4:30 p.m., with a 1-hour lunch break. Counsel must appear at 8:30 a.m.
26    to discuss preliminary matters with the Court The Court will call a jury panel only when
27    it is satisfied that the matter is ready for trial. Jury selection usually takes only a few
28    hours. Counsel should be prepared to proceed with opening statements and witness
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  1   examination immediately after jury selection.
  2          Mondays are usually reserved for the Court’s calendar, so generally there will
  3   not be trial on Mondays, unless a jury is deliberating. Trial days are generally Tuesday
  4   through Friday, from 9:00 a.m. to approximately 4:30 p.m., with two 15-minute breaks
  5   and a 1-hour lunch break.
  6   III.   CONDUCT OF ATTORNEYS AND PARTIES
  7          A.    Meeting and Conferring Throughout Trial
  8          The parties must meet and confer on an ongoing basis throughout trial on all
  9   issues as they come up. The Court will not resolve any issue during trial unless and
10    until the parties have attempted to resolve it themselves. The Court strictly enforces
11    this rule.
12           B.    Opening Statements, Examining Witnesses, and Summation
13           Counsel must use the lectern. Counsel must not consume time by writing out
14    words, drawing charts or diagrams, etc. Counsel may prepare such materials in
15    advance. The Court will establish and enforce time limits for opening statements and
16    closing arguments, and for examination of witnesses.
17           C.    Objections to Questions
18           Counsel must not use objections to make a speech, recapitulate testimony, or
19    attempt to guide the witness.
20           When objecting, counsel must rise to state the objection and state only that
21    counsel objects and the legal ground of objection. If counsel wishes to argue an
22    objection further, counsel must ask for permission to do so.
23           D.    General Decorum
24                 1.    Counsel must not approach the CRD or the witness box without
25    specific permission and must return to the lectern when the purpose for approaching has
26    been accomplished.
27                 2.    Counsel must rise when addressing the Court, and when the Court
28    or the jury enters or leaves the courtroom, unless directed otherwise.
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  1                3.     Counsel must address all remarks to the Court. Counsel must not
  2   address the CRD, the court reporter, persons in the audience, or opposing counsel. Any
  3   request to re-read questions or answers shall be addressed to the Court. Counsel must
  4   ask the Court’s permission to speak with opposing counsel.
  5                4.     Counsel must not address or refer to witnesses or parties by first
  6   names alone, with the exception of witnesses under 14 years old.
  7                5.     Counsel must not offer a stipulation unless counsel have conferred
  8   with opposing counsel and have verified that the stipulation will be acceptable.
  9                6.     While Court is in session, counsel must not leave counsel table to
10    confer with any person in the back of the courtroom without the Court’s permission.
11                 7.     Counsel must not make facial expressions, nod, shake their heads,
12    comment, or otherwise exhibit in any way any agreement, disagreement, or other
13    opinion or belief concerning the testimony of a witness. Counsel shall admonish their
14    clients and witnesses not to engage in such conduct.
15                 8.     Counsel must never talk to jurors at all, and must not talk to co-
16    counsel, opposing counsel, witnesses, or clients where the conversation can be
17    overheard by jurors. Counsel should admonish their clients and witnesses to avoid such
18    conduct.
19                 9.     Where a party has more than one lawyer, only one may conduct the
20    direct or cross-examination of a particular witness, or make objections as to that witness.
21          E.     Promptness of Counsel and Witnesses
22                 1.     Promptness is expected from counsel and witnesses. Once counsel
23    are engaged in trial, this trial is counsel’s first priority. The Court will not delay the
24    trial or inconvenience jurors.
25                 2.     If a witness was on the stand at a recess or adjournment, counsel
26    who called the witness shall ensure the witness is back on the stand and ready to proceed
27    when trial resumes. Any witness who is not a party to the case shall refrain from talking
28    with a party or with a party’s counsel during a recess or adjournment.
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  1                3.     Counsel must notify the CRD in advance if any witness should be
  2   accommodated based on a disability or for other reasons.
  3                4.     No presenting party may be without witnesses.          If a party’s
  4   remaining witnesses are not immediately available and there is more than a brief delay,
  5   the Court may deem that party to have rested.
  6                5.     The Court attempts to cooperate with professional witnesses and
  7   generally accommodates them by permitting them to be called out of sequence. Counsel
  8   must anticipate any such possibility and discuss it with opposing counsel. If there is an
  9   objection, counsel must confer with the Court in advance.
10          F.     Exhibits
11                 1.     Each counsel must keep counsel’s own list of exhibits and must note
12    when each has been admitted into evidence.
13                 2.     Each counsel is responsible for any exhibits that counsel secures
14    from the CRD and must return them before leaving the courtroom at the end of the
15    session.
16                 3.     An exhibit not previously marked must, at the time of its first
17    mention, be accompanied by a request that it be marked for identification. Counsel
18    must show a new exhibit to opposing counsel before the court session in which it is
19    mentioned.
20                 4.     Counsel must advise the CRD of any agreements with respect to the
21    proposed exhibits and as to those exhibits that may be received without further motion
22    to admit.
23                 5.     When referring to an exhibit, counsel must refer to its exhibit
24    number. Witnesses should be asked to do the same.
25                 6.     Counsel must not ask witnesses to draw charts or diagrams, or ask
26    the Court’s permission for a witness to do so. Any graphic aids must be fully prepared
27    before the court session starts.
28                 7.     Counsel shall seek admission only of the portions of video exhibits
                                                16
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  1   played before the jury. The Court will not admit extraneous portions of videos and will
  2   strictly control the admission of any wasteful or cumulative video exhibits under Rule
  3   403.
  4          G.    Depositions
  5                1.     In using depositions of an adverse party for impeachment, counsel
  6   may adhere to either one of the following procedures:
  7                       a.     If counsel wishes to read the questions and answers as alleged
  8          impeachment and ask the witness no further questions on that subject, counsel
  9          shall first state the page and line where the reading begins and the page and line
10           where the reading ends, and allow time for any objection. Counsel may then read
11           the portions of the deposition into the record.
12                        b.     If counsel wishes to ask the witness further questions on the
13           subject matter, the deposition shall be placed in front of the witness and the
14           witness told to read the relevant pages and lines silently. Then counsel may either
15           ask the witness further questions on the matter and thereafter read the quotations,
16           or read the quotations and thereafter ask further questions. Counsel should have
17           an extra copy of the deposition for this purpose.
18                 2.     Where a witness is absent and the witness’s testimony is offered by
19    deposition, counsel may (a) have a reader occupy the witness chair and read the
20    testimony of the witness while the examining lawyer asks the questions, or (b) have
21    counsel read both the questions and the answers.
22           H.    Using Numerous Answers to Interrogatories and Requests for
23                 Admission
24           Whenever counsel expects to offer a group of answers to interrogatories or
25    requests for admissions extracted from one or more lengthy documents, counsel should
26    prepare a new document listing each question and answer and identifying the document
27    from which it has been extracted. Copies of this new document should be given to the
28    Court and opposing counsel.
                                                17
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  1         I.     Advance Notice of Unusual or Difficult Issues
  2         If any counsel anticipate that a difficult question of law or evidence will
  3   necessitate legal argument requiring research or briefing, counsel must give the Court
  4   advance notice. Counsel are directed to notify the CRD at the day’s adjournment if an
  5   unexpected legal issue arises that could not have been foreseen and addressed in
  6   advance. Counsel must also advise the CRD at the end of each trial day of any issues
  7   that must be addressed outside the presence of the jury so that there is no interruption
  8   of the trial. THE COURT WILL NOT KEEP JURORS WAITING.
  9
10          Parties appearing pro se must comply with the Federal Rules of Civil
11    Procedure and the Local Rules. See Local Rules 1-3 and 83-2.2.3.
12
13          IT IS SO ORDERED.
14
15    Dated: August 30, 2022          _______________________________________
                                      MARK C. SCARSI
16                                    UNITED STATES DISTRICT JUDGE
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